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                   EXHIBIT D
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From:                              Wasserman, Arielle
Sent:                              Wednesday, January 29, 2025 9:42 AM
To:                                Blum, Matthew S.; Min, Jay H.
Cc:                                Melzer, Jason; Mannion, Connor
Subject:                           Tecspec LLC -- Tecspec Items to be Returned


Good morning,

Please be advised that Defendants are currently in possession of the below items, all of which belong to Tecspec LLC and
must be returned immediately:

             1. M. Donnolo’s laptop, which contains programs purchased by Tecspec LLC, as well as Tecspec LLC files;

             2. Chairs;

             3. Storage Bins;

             4. Tools, screw guns, and miscellaneous tools;

             5. All tools and bits used on the CNC machine, including but not limited to the stand that holds them;

             6. Sound insulation for silencer tubing;

             7. Wiring Harnesses used on the induction units;

             8. Aluminum Silencer piping;

             9. Dwyer gages

             10. SolidWorks program; and

             11. All drawings and testing data on the new Coanda-based HVAC unit.

Please advise as to when we can expect to receive these items back.

Thank you,

Arielle




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